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                Exhibit 1
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Item: dont-farm20000000001 (Preview)                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Metadata


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month. Even if you are not a client yet Even if another wave of bans arrives Even if requesting accounts for your needs overloads our system We've already put your ROI first and are set to provide everything you need. Get started We supply any Geo 183 countries available for purchase Choose GEO We work with the whole world Customers from 48 different countries work with us Become a client The only one willing to provide assets for any volume My accounts + Request account + Request IT Active to.ye.moye Fbhereicome to.ye.moye Fbhereicome Add tag IT Active to.ye.moye Fbhereicome to.ye.moye Fbhereicome Add tag IT Active to.ye.moye Fbhereicome to.ye.moye Fbhereicome Add tag IT Active to.ye.moye Fbhereicome to.ye.moye Fbhereicome Add tag IT Active to.ye.moye Fbhereicome to.ye.moye Fbhereicome Add tag IT Active to.ye.moye Fbhereicome to.ye.moye Fbhereicome Add tag Our capacity: more than 30 000 accounts in stock at all times and
issued non-stop. We've optimized the fastest possible, totally uncompromising account output. Your advertising can't wait Request account Outstanding numbers Our base principle is, first and foremost, traffic. We use all our resources to ensure that you get accounts in the shortest time possible, and have everything you need to run your ads. 0 accounts issued in the last 24 hours 0 accounts issued in the last month 0 accounts issued in total Genuine trust One of our principles is that your profits are a priority. We care: we help in your quest to earn more from advertising — that's why so many work with us long term. 0% of customers regularly come back and use our services again 0 of customers are now working in the system 0 of customers have already increased their opportunities with us Everything is ready for your launch Before you receive your accounts, our 200+ employees use our automated verification algorithms to carefully process each profile in several
steps. Only those that meet the highest quality criteria are sent to you. Get to work In-house assembly of all technical equipment RDP Protocol for remote access to the server hosting the virtual machine with our account. Such a mechanism provides the highest security compared to other solutions on the market. RDP is launched in one click. Learn more No modern antidetect browser, including MLA, has the ability to import the full data package needed to guarantee account usage. dont.farm uses Chromium together with RDP, which meets the highest social network anti-fraud standards. Learn more The system is set up in such a way that the neural mechanisms of social networks see almost no difference between the virtual machine and the user's device. And in the event of any changes, we will flexibly adapt our settings to the new requirements. Learn more By default, we only use private resident proxies, which virtually eliminates the chance of coming across a
checkpoint. Also, on popular GEOs, there is the option of premium proxy. They ensure the fastest speed. Learn more An exceptionally systematic approach for the benefit of our customers Your results come not only from the accounts you have but also from the approach you take. We know all the nuances of launching advertising from which we have inferred two best-case scenarios for cooperation. White Hat solution Your business has low risks of being rejected by Facebook policy, you care about high budgets and account stability at a distance - we have the best solution ready to go for niche marketers. Full access High limits Business Manager warm-up 3-5 Ad accounts Bank card wh.dont.farm Black Hat solution Unlimited replacement Any Geo Limits $250 No limitations Appeals Frequent bans are the main reason for drops in your income. To improve the chances that a strategy works out, more attempts are needed. Insurance for your business: replace accounts
for subscribed users easily and without limit. bh.dont.farm When you get an account, the work is just beginning Instructions It is important to us that our clients have no difficulty in setting up their advertising. That's why we freely share all the knowledge we've accumulated over our many years in marketing. All of the top recommendations are stored in one place without exception and are available to all current clients. Access the manuals Blog and Updates Our database contains more than 300 unique articles, news items, and cases. We write a lot, we talk a lot, and it's all about business. Careful study of the trends and changes in algorithms allow us to let you know about everything important early on. Ready — means you had time to read our digest. Read the blog We take care of all appeals Account blocking is often unfair and has more to do with Facebook's own mistakes than with your advertising. The process of sending an appeal is already an integral part of the
launch. Save yourself some time and leave the unblocking to us. Thanks to the service's customized processes, we have consistently rescued 60% of accounts and will continue to advocate for their right to resume advertising activity. Delegate appeals Involvement in resolving your problems Each manager of our company has personal experience in the launch of advertising. Outstanding expertise and maximum involvement are the foundations of our relationship with you. We are always here to provide support and advice. Contact the experts For 2 years now We provide uninterrupted service to our customers. By investing in stability, you stay afloat even during the most difficult times. Join Customer opinion JU Justin US I love their technical infrastructure and their excellent customer service. No other company comes close. As I continue to grow my company, I plan to increase my business with them. EM Elios Myftiu NL I was amazed since my first contact with my
account manager. I bombed them with questions and they always replied with detailed responses. They even gave me the best practices for ad account longevity which worked like a charm. I have so many accounts that are still running ads for months now without any issues. PT Pro Traders AL dont.farm is one of the best companies to generate unlimited facebook accounts all around the world. Also if your ads get banned and require email, phone number or ID the team helps you. They are the reason I am still in marketing. SH Said Al Haddad ES Before coming across Dont.farm, we have been struggling with ad accounts all the time now things are really smooth, We get an account banned and always get a replacement right away! Ad accounts are the main issue of all Ecom communities on Facebook, and Dontfarm is the solution. EM Elios Myftiu PL We were in a bad position as we wanted to advertise on Facebook but they just did not care. Dont.farm were a life saver
their white hat accounts allow us to run ads for our white hat projects. We have used their accounts for months and months and they have spent high. 10/10 ‹ › Privilege assigned to our brand The name we've made through our work Sign up Still have questions? Email us and we'll get back to you! Get in touch Privacy policy Terms of Use About Products & Services Product tech specs Black hat White hat Vacancies Events Business FROM Pulse White label For clients For teams Affiliate Education Blog Glossary FAQ Manual Facebook Manual Google Manual Twitter Contacts Adresses and contacts AccountsFor advertisingFor targeted advertisingFor Instagram advertisingWith Business managerWith friends Copyright © 2021 All rights reserved. Privacy policy Terms of Use Store Privacy Policy INTRODUCTION This Privacy policy tells you how DONT.FARM LTD (Psillakis Bldg, 119 Makariou Iii Ave, Psillakis Bldg, Limassol, Cyprus) (hereinafter referred as «the
Company», «we», «us», «our») collect, use, and protect your personal information when you visit dont.farm (hereinafter referred as «Website», «our Website», «this Website»). By using our service you accept and agree to the terms and conditions of this Privacy policy (hereinafter «Policy»). In particular, you consent to our collection and use of your personal information as described in this Policy. This Website is used for informational purposes only. You access and use this Website and its content at your own risk. We endeavor to ensure that information provided on our Website is accurate and reliable, but it is provided without warranties or guarantees of any kind. THE TYPE OF INFORMATION WE COLLECT FROM YOU Simply by visiting our Website you automatically tell us certain information such as, your IP address, when you visited, the website, from where you came prior to visiting us, the website where you go when you leave our website, your computer’s
operating system, and the type of web browser that you are using. If you would like to join our Website services, you can create an account. For this purpose, we can ask you for the following information: Username; E-mail address; Your gender; Your country; Your contacts (skype details, links to your profiles in social networks); URL address of your website or blog; Your role in affiliate marketing; Your background in affiliate marketing; Password for your account on our Website (please, select for your own safety a secret and secure password in order to ensure the confidentiality of your data; in the event that you forget your password, please use the “Forgot password?” function provided on the Website to create a new, secure password). Apart from creating an account, you can also register on the Website through your profile in Facebook (a social communication network), through “Log in with Facebook” service. When creating an account via Facebook, the data
necessary for the registration (your e-mail, your name) will be directly and automatically sent from the Facebook account and received by us. By applying for registration on the Website via Facebook you give your express consent for the requested data in your Facebook account to be accessed and transferred by Facebook (Facebook Inc., Facebook Ireland Limited, as well as by any other person who participates in the services provided by the facebook.com website and who processes the data of the user) to our Company. By registering via Facebook in order to use the Website, you agree with our Terms of Use. By using the services of our Website and creating account on our Website, you agree with the terms of this Policy and give your consent to process your personal information in accordance with this Policy. WHAT WE DO WITH YOUR INFORMATION We use information provided by you on our Website for a variety of purposes. to fulfill your request/claim from
contact form on our Website; to provide you an opportunity to use services of our Website, including, but not limited to creating an account, providing you with technical support, etc.; understand and meet your needs and preferences; develop new and enhance existing service and offers; monitoring and analyzing trends, statistics, usage and activities in connection with our Website; to provide you with information about promotional offers (information about goods and services), list of companies who provide such offers, list of advertising platforms, list of different promotional materials, list of various promo codes and discounts which are offered by different services, news in IT and online advertising sphere, etc.; add you to our email subscription list, send you information listed above, which will be interesting to you (personalized mailing). You will only receive advertising if you have given your explicit consent; meet legal and regulatory requirements. HOW WE STORE
YOUR INFORMATION Information provided to us is stored at secure locations in EU. However, if in accordance with applicable laws of the jurisdiction of the data subject, we obliged to store personal information of data subject within data subject’s jurisdictions, please, note that we comply with such requirements. We take reasonable steps to ensure that the personal information we collect about you remains accurate, timely, and secure. In order to avoid loss or misuse of data stored by us, we take necessary technical and organizational measures to secure your information and to protect it against unauthorized or unlawful use and accidental loss or destruction, including: limited access to records with your personal information; using secure servers to store your information; cryptographic methods of protection (SSL); timely destruction of residual information. Unfortunately, no data transmission over the Internet can be guaranteed to be 100% secure and while we strive to
protect your personal information, we cannot guarantee or warrant its complete security. We shall not be responsible for losses that you or any person may suffer as a result of a breach of confidentiality in respect to your use of the Website or any information you transmit to the Website. Also, we do not assume any responsibility for the data you submit to or receive from us through the Internet or for any unauthorized access or use of that information and we cannot and do not guarantee that information communicated by you to us or sent to you by us will be received or that it will not be altered before or after its transmission to us. We have no technical influence on third parties, which are beyond our control. HOW LONG WE RETAIN YOUR INFORMATION We are going to store your personal information as long as we need it to provide you with products and services, comply with applicable law, or resolve any disputes between us or with third parties. If you do not want
us to process your personal information anymore, you shall ask us about that and delete your account. We retain the information you used to sign up for our newsletter for as long as you remain subscribed (i.e. you do not unsubscribe) or if we decide to cancel our newsletter service, whichever occurs first. TRANSFER OF INFORMATION ABOUT YOU TO THIRD PARTIES We do not transfer your personal information to third parties. However, there are some important exceptions to this rule that are described below. We may disclose information that we collect about you should we have reason to believe that: it is necessary to identify, contact, or bring legal action against persons or entities who may be causing harm to you, us, or others; it is necessary because of official inquiry of governmental authorities; it is necessary securing compliance with law’s provision or with requirements of judicial proceedings concerning us; we may also disclose information when we
believe the law requires it Although we do not disclose individually identifiable information, we may disclose aggregate anonymous statistical data about our Website visitors to advertisers or other third parties for marketing and promotional purposes. LINKS TO THIRD PARTIES WEBSITES Please be advised that we may provide links to third party websites from our Website as a service to our users, but we have no ability to control, and we are not responsible for, the privacy and data collection, use, and disclosure practices of such websites. Links to third-party websites are provided for additional information for the end user only and we make no warranties or guarantees concerning third party websites or the information, products or services they offer. This Policy do not extend to these third party websites. Any information you provide to third party websites will be governed under the terms of each website's privacy policy and we encourage you to investigate and ask
questions before disclosing any information to the operators of third party websites. COOKIES Like most other websites, we use cookies to enhance the experience on our Website by customizing content based on your preferences. A cookie is a small file which asks permission to be placed on your computer's hard drive. Once you agree, the file is added and the cookie helps analyze web traffic or lets you know when you visit a particular site. Our cookies are used for language settings and your current location (which was earlier provided by you). Also we use our cookies for saving the information which notices (such as subscribe notices, pop-up notices, etc.) were already shown to you and to avoid re-showing of such modal windows. While using our Website cookies files may be recorded to your device by the following service providers. Google Analytics: Google collects information through our use of Google Analytics on our Website. Google Analytics share
with us for various information about your visiting to our Website (your behavior, browser type, device type, time spent on our Website, etc.). Google uses this information, including IP addresses and information from cookies, for a number of purposes, such as improving its Google Analytics service. Information is shared with Google on an aggregated and anonymised basis. To find out more about what information Google collects, how it uses this information and how to control the information sent to Google, please see the Google’s privacy policy: https://policies.google.com/technologies/partner-sites?hl=en. You can opt out of Google Analytics by installing the browser plugin here: https://tools.google.com/dlpage/gaoptout?hl=en Firebase: Google collects information through our use of Firebase Cloud Messaging services on our Website. Firebase helps us to send you push notifications by using Instance IDs to determine which devices to deliver messages to. To find out
more about how long Firebase collects, how it uses this information and how to control the information sent to Firebase, please see the Google’s privacy policy indicated below and the following links: https://firebase.google.com/support/privacy/; https://firebase.google.com/terms/data-processing-terms. How to disable cookies from Firebase: if you prefer, you can edit your browser options to block them in the future. Most web browsers are set to accept cookies as a default. If you are using one of the common Internet web browsers, you can set up your browser to either let you know when you receive a cookie or to deny cookie access to your computer. However, please, note that if you do so, you may not be able to use the full functionalities of this Website. YOUR RIGHTS IN RELATION TO YOUR INFORMATION You are able to rectify, update or change your personal information provided to us in your account, except e-mail address. E-mail address is a unique
identifier in our system and it can not be changed. Unfortunately, if you want to use our Website with another e-mail you need to register again on our Website. If you did not register an account on our Website, but you have reasons to believe that we have your personal information, please, contact us in our contact form on Website. In addition, you may request us to delete your personal information from our database. Also, please, contact us in our contact form on Website. You may also opt out of receiving promotional communications from us at any time by following the instructions in those communications. If you opt out, we may still send you non-promotional communications, such as technical notices, support or administrative notifications or information about changes to this Policy and using services on our Website. You also has other rights, which are provided to you by data protection law, including but not limited to: to request access and have free access to your
information that have been provided by you and that have been subject to processing; to restrict our use of your personal information; right to revoke any consent given to the processing of personal information at any time; object to the processing based on the balancing of legitimate interests; right of appeal to the competent data protection supervisory authority; to be aware of the amendments made to the terms of this Policy in an efficient manner before the implementation of new amendments or, otherwise, of the new information processing policy; to have easy access to the text of this Policy and its amendments and etc. You can also find out further information about your rights, as well as information on any limitations which apply to those rights, by reading the EU General Data Protection Regulation. If you have any request, complaint or claim to us in relation to processing of your personal information by us, please, send us a message in our contact form on Website or by
e-mail. You message must contain: your name and e-mail address; description of the facts that give rise to the request, claim or complaint and the purpose sought (update, correction or deletion, or fulfillment of duties, etc.). We consider all requests from you within 15 days. Before answering the claim, we shall verify your identity and find your personal data in our database. If the claim or information provided is incomplete, we will request additional information for your identification, which shall be provided by you within 5 days of receipt of the claim to remedy the failures. If you fail to submit the required documentation or information within 5 days of the date of the initial claim, you shall be deemed to have waived the claim. Once your request has been received with complete information, the 15 days’ term will start again. When it is not possible to answer your request within such term, we will inform you about he reasons for the delay and of the date when your request will
be dealt with, which in no case may exceed 30 days following the expiration of the first term. MINORS We do not provide services to children. If you are below the age of 18, you may use our Website only with the permission and active involvement of a parent or legal guardian. If you are a minor, please do not provide us with any personal information. If, however, we become aware that personal information regarding a child under the age of 18 has been collected on the Website we will make reasonable efforts to delete it from our records immediately. POLICY CHANGES The terms of this Policy may change from time to time. Where we make minor changes to this Policy, we will update it with a new effective date stated at the end of it. Our processing of your information will be governed by the practices set out in that new version of the Policy from its effective date onwards. Where we make major changes to this Policy or intend to use your information for a new purpose
or a different purpose than the purposes for which we originally collected it, we will notify you by email (if you are a registered user) or by posting a notice on our Website. We will provide you with the information about the change in question and the purpose and any other relevant information before we use your information for that new purpose. Wherever required, we will obtain your prior consent before using your information for a purpose that is different from the purposes for which we originally collected it. If you disagree with the changes that have been made, please contact us (by e-mail, using a Website contact form), and any changes made to this Policy will not apply to information we have collected from you prior to making the changes. POLICY CHANGES If you have any questions about this Policy or requests, please contact us by e-mail: support@dont.farm or contact form. These Policy is effective as of July 02, 2019. Terms and Conditions 1. INTRODUCTION
Thanks for your business and your trust in our services. It’s in our upmost interest to work on a long term relationship together and create a strong business relationship together. The dont.farm system will make your online marketing activities on social media 100% easier and enables you to focus 100% on making money and stop wasting time on overhead and technical infrastructure. 2. DISCLAIMER PLEASE READ THE TERMS OF SERVICES WITH UTMOST CARE BEFORE USING dont.farm AND ENJOYING ITS SERVICES. AN ACT OF CONTINUING TO STAY AT AND USE dont.farm AND SUBSCRIBING TO ANY PACKAGE AND OR SERVICE OFFERED THROUGH THIS WEBSITE SHALL BE IMPLIED THAT THE USER AGREES TO OBEY ALL THE PROVISIONS OF THE TERMS OF SERVICE. 3. INTERPRETATION dont.farm, we, our, its and us refer to dont.farm, its owner and authorized officials. Services include all the services offered by dont.farm
including but not limited to dont.farm and assistance to improve marketing activities through “campaigns” provided for (social) networks. Additional or separate agreement refers to any separate understanding between dont.farm and the user other than or in addition to the TOS. You, client, visitor and user refer to any person visiting dont.farm and enjoying the Services 4. PRODUCTS AND BUSINESS OPPORTUNITIES The use of the system is in general without any subscription fee available. The products we deliver will make your work as an online marketeer on social media easier and more powerful. You can order “campaigns” for a fixed price. You pay a fixed price and your “campaigns” will be added to your account. If a “campaign” goes down due to any mistake unrelated to payment method and or before advertising can be report, and you can order a new “campaigns”. For specific rules according to the replacement of services we refer to our “Terms of Business”
section. 5. COMMUNICATION We value your business and like to make sure that your interests are taken care of. However we also value respect and the way we do business together. Therefore we expect to treat each other with respect and treat each other like equals. The main idea is that we treat each other like you want to be treated yourself. These are the outlines of the way we communicate and do business is: Regular contact: we value your contact and input how to improve our services. The better the contact the better our relationship will be Conversation: we are humans too and we like to be treated that way. In case things go well everybody is happy, but when things don’t work like you want to it is easy to complain. In this case please keep in mind that we are humans and like to look for solutions. We don’t allow our clients to start swearing, cursing, threatening or shouting will not be appreciated. We will dismiss your messages and we can even block
your account if we feel like the business relationship is in distress Feedback: we want to improve our business and business relationship. If you are willing to help us out to improve our business we both can benefit from it. Please let us know how we do well or what should be improved 6. BASIC TERMS When joining in business we expect you to fully understand the online marketing business and running advertising on social media networks. Basic terms to do business are: Understanding social media advertising: you know that advertising on social media can have it’s ups and downs. There are things you can and can’t do according to promoten. This will influence the lifetime of your “campaigns” and will influence your profitability. We will provide you with the highest quality of services with proven track record. We know that the quality is really high, so we can say that the way you advertise or handle the “campaigns” has a big influence on the final profit per
“campaign”. Full knowledge how to advertise on social media: we expect you to understand how to handle “campaigns” and keep them in a good condition. The lifetime of a “campaign” is extended when you treat them well. We will not train you or explain to you how this game works. We expect you to already know that. 7. TERMS OF BUSINESS When working together we both agree on the following terms: By using our dont.farm system you automatically agree with the terms in this document. The terms may change over time and you must check for updates on a regular basis. Both parties will respect each other in working in an ethical way and communicate with respect for each other When using our services you agree that you have full understanding of the way external parties will value your behaviour. Banning of “campaigns” is inevitable when not handled properly and according to terms and conditions of the social media networks. You agree to be fully aware
of the fact that this will happen in case you will not agree to any terms. As a user of our services you agree you have full knowledge on how to handle and maintain “campaigns” and have long term experience with handling “campaigns” to keep them running and make profit As a user of our system you agree you trust our services and quality of the “campaigns” we deliver, and understand that the average lifetime of a “campaign” represents the quality of the “campaigns”. In case the average lifetime of the “campaigns’” you use are lower than our global average you agree to accept that your strategy is too aggressive, against policies or terms and conditions the way you handle your “campaign” is not sufficient. We as a service provider are able to disable access in case you are not respecting our business ethics. This includes but is not limited by: fraud, misbehaviour, rude or unwanted communication behaviour. Together we agree to work towards a long term business
relationship and we both value our long term bond. Refunds or replacements of “campaigns” will only occur in case there is proven issue with our services or when the supplied “campaigns” have technical issues. In any other case there will be no refund. There is no replacement policy in cases like, but not limited by: inappropriate behaviour when maintaining “campaigns”, using low quality payment methods (e.g. credit cards that are banned by social media networks), unproven payment methods, payment methods that have no proven track record working on social media or for the given geo’s you will be active in, aggressive marketing methods, inexperience of yourself, partners or employees within your organisation. We as a service provider will always try to find a possible solution to solve any issues and keep the business relationship healthy. Although we will not accept abuse, extortion or threats in communication internal or external. This will terminate all rights
and use of our systems. As a user of the dont.farm system you agree to use provided “campaigns” only for promoting products or services that are approved by the networks you run advertisements. And you run advertisement activities according to the terms and conditions provided by the advertisement platform(s). As a user of the dont.farm system you agree to run advertisements without fraudulent claims, forcing others into buying products, services or subscriptions and or other ways unapproved by local laws. As a user you are obliged to use the dont.farm services and infrastructure only for the provided dont.farm products (e.g. but is not limited to: you can’t create and use your own accounts on the provided virtual machines, use external third-party accounts on the dont.farm facilities, use dont.farm accounts that haven’t been transferred to you, and so on). As a user you need to inform the dont.farm about all the cases of bans of personal and ad accounts transferred to you
within 1 business day after you become aware of the fact. Virtual machines are offered on a temporary basis. After the expiration of 6 months from the moment of transfer (‘delivery date’) the usage of the virtual machines might be limited until an additional fee is paid. 16. As a user of the dont.farm system you agree to stop virtual machines when you do not use them. Internet connection on virtual machines can be automatically paused after 15 minutes of inactivity and virtual machines stopped after 1 hour of inactivity (absence of any active actions from a user side on a virtual machine). 8. GOVERNING LAW, JURISDICTION AND SERVICE OF NOTICE All disputes arising from the TOS shall be resolved by dont.farm dispute resolution arrangements. The issue may be referred to an independent arbitration if dont.farm dispute resolution arrangements fail. In case, the arbitration fails to resolve the dispute, the matter may be brought before the court having competent
jurisdiction in Cyprus. The user expressly agrees that the TOS shall be governed by the relevant laws for the time being in force in Cyprus. The courts having competent jurisdiction in Cyprus shall hear the disputes arising from the TOS exclusively. All the notices or correspondence required to be made hereby or by the relevant law for the time being in force shall be presumed to be delivered if sent to the official email of dont.farm or any authentic postage service. In case the communication is made through postage service, the communication shall be presumed to be complete after five (5) business days of the postage. 9. INTELLECTUAL PROPERTY RIGHTS All the material contained in dont.farm, including, without limitation, the content, software, images, drawings and design, is the sole property of dont.farm and is protected by the copyright protection laws for the time being in force in Cyprus and by the relevant International Treaties. No user is allowed to copy,
reproduce, distribute, reprint, host or use in any manner without the written approval of dont.farm. In the event of infringement of our rights, we shall take strict legal action, and shall also claim damages. dont.farm reserves the rights not hereby claimed. 10. INDEMNIFICATION The user hereby agrees to indemnify and hold dont.farm, its directors, affiliates, agents, employees and staff harmless against and from any claim, legal action, demand, damages, costs and expenses (including litigation costs) made by any third party arising out of or with respect to the user’s enjoyment of the Services, violation of the TOS, an act of omission or commission of the user, infringement of rights of third party or any contract with any third party. 11. DISCLAIMER AND EXTENT OF LIABILITY THE SERVICES AND MATERIAL OFFERED BY dont.farm, INCLUDING, WITHOUT LIMITATION, THE TEXT, IMAGES, GRAPHICS, SOFTWARE, TOOLS AND BUSINESS STRATEGIES ARE
MADE AVAILABLE ON AN ’AS IS’ BASIS WITHOUT ANY EXPRESS OR IMPLIED WARRANTIES. TO THE EXTENT PERMITTED BY THE LAW FOR THE TIME BEING IN FORCE IN CYPRUS, dont.farm DISCLAIMS, HEREBY, ALL REPRESENTATIONS AND WARRANTIES INCLUDING, WITHOUT LIMITATION, THE IMPLIED WARRANTIES THAT THE SERVICES HAVE NO VIRUS OR HAVE MERCHANTABILITY, CONTINUOUS WITHOUT ANY FAULT OR INTERRUPTION OR ARE FIT FOR A PARTICULAR PURPOSE; dont.farm DOES NOT REPRESENT OR WARRANT THE ACCURACY, COMPLETENESS, CURRENTNESS, NON-INFRINGEMENT OR ERROR LESSNESS OF THE SERVICES. Force Majeure: dont.farm is a professional business entity and adheres to the commitments and promises it has made with the clients. There are events that may make dont.farm to unable to provide the Services such as an act of God, natural disaster,
lock-outs, fire, floods, strikes, labor troubles, riots, war, insurrection or any cause beyond the reasonable control of dont.farm. In such situations, neither dont.farm nor the client shall be held liable for the breach of any provision of the TOS or delay of the Services. The Services may be suspended until the existence of such situations. In case, the situation exists for a continuous period of thirty (30) days, the TOS shall be terminated between the user who has paid to dont.farm for the Services and receives no part of the Services, and shall be entitled to claim the refund. Extent of Liability: Unless provided otherwise in the TOS or any other additional or separate agreement, the aggregate liability of dont.farm with respect to the Services for all claims shall not be in excess of the original price of the Services the user has paid to dont.farm for the job from which the dispute, claim or demand has arisen dont.farm does not guarantee for the increase in the sales volumes, registration,
subscriptions or sign-ups. All errors and omissions excepted. dont.farm shall not be liable for any damages, losses or costs resulting from the misuse of the Services in any manner. The client understands that there are some technical issues that may interfere with the provision of the Services to the client that include, without limitation, errors on the client’s website, downtime on client’s server and network outages beyond dont.farm’s servers. dont.farm owns no liability for the technical issues associated with the client’s website. dont.farm owns no liability for any loss or damage whether direct or indirect, incidental or punitive including, without limitation, the loss of profit or opportunity arising from the use or failure to use the Services, even dont.farm has been advised of the possibility of occurrence of such damage or loss. Log-in Sign in Don't have an account? Create one Forgot password? Reg Спасибо Закрыть окно Thank you! Thank! Your account has been activated
Forgot password? Enter your email address to send a password recovery email Reset Password reset link was sent to your email Unlimited accounts on subscription. Get as much accounts as you need with premium proxy and almost instant replacement. Learn more Are you from Google? Are you from Facebook or Instagram? Get $300 Get a free account! -30% of the price! Get the card free! On Cloud Accounts for social networks! Get 1 account for free buying 3 accounts! Get a 30% discount on your first account purchase! Get a payment solution as a gift replenishing the balance on $300 Sign Up We don’t sell USA Accounts! Leave page Ok Are you from TES Affiliate Conference? Get 50$ on your balance! Sign up no later than 3rd of March and send the code "TES2020" to your personal manager. Sign Up Are you from BHW? Get 300$ on your bonus balance! Sign up and send code "BHW300" to your personal manager. Sign Up Sign-up Continue Already have an
account? Log-in Contact us Send Only valid contacts will be answered Сonfirm
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